




NO. 07-07-0236-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



JULY 6, 2007

______________________________



KEITH WAYNE PARR,



Appellant



v.



THE STATE OF TEXAS,



Appellee

_________________________________



FROM THE 251st DISTRICT COURT OF RANDALL COUNTY;



NO. 17513-C; HON. ANA ESTEVEZ, PRESIDING

_______________________________



ORDER OF DISMISSAL

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Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

Appellant, Keith Wayne Parr, appeals his conviction for possession of a controlled substance in a drug-free zone. &nbsp;The certification of right to appeal executed by the trial court states that “this criminal case is a plea-bargain case and the Defendant has NO right of appeal” and “the defendant has waived the right of appeal.” &nbsp;This circumstance was brought to the attention of appellant, and opportunity was granted him to obtain an amended certification entitling him to appeal. &nbsp;No such certification was received within the time we allotted. &nbsp;Having received no certification authorizing an appeal, we dismiss the appeal per Texas Rule of Appellate Procedure 25.2(d).

The appeal is dismissed.



Per Curiam



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